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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

MONROE CROWNER HARROD                           :
    Petitioner
                                                :
       v.                                         Civil Action No.. WDQ-09-1326
                                                : Criminal Action No. WDQ-01-150
UNITED STATES OF AMERICA
     Respondent                                 :
                                             ..oOo..

                                        MEMORANDUM


       On May 18, 2009, Monroe Crowner Harrod, proceeding pro se, filed a Motion to Correct

his Presentence Report. It will be construed as a Motion to Vacate, Set Aside or Correct

Sentence under 28 U.S.C. § 2255, and dismissed without prejudice.

I. Background

       On February 7, 2002, the court sentenced Harrod to 240 months incarceration after he

pleaded guilty to conspiracy to distribute and possess cocaine. The Fourth Circuit dismissed his

appeal. On February 10, 2005, the court denied Harrod’s § 2255 Motion. On September 20,

2005, the Fourth Circuit denied a Certificate of Appealability.

       Harrod is represented by the Federal Public Defender in connection with a separately

filed 18 U.S.C. § 3582 Motion to Reduce Sentence based on Amendment 706 to the U.S.

Sentencing Guidelines. Counsel has filed a status report, and a response from the government is

pending.1

II. Discussion

       Harrod claims that his criminal history was improperly calculated in his Presentence

Report. Regardless of the caption, a motion that challenges the validity of a sentence is properly


       1
         To the extent claims might be raised here and in the § 3582 proceeding, they are
dismissed without prejudice to review in the Motion to Reduce Sentence.
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construed under 28 U.S.C. § 2255. See e.g. Calderon v. Thompson, 523 U.S. 538, 554 (1998).2

This is a second or successive § 2255 pleading and may be considered only if first certified by

the Court of Appeals. See 28 U.S.C §§ 2244(b)(3)(A) & 2255. Absent evidence that Harrod

has obtained authorization, the Motion must be dismissed for lack of jurisdiction. See Evans v.

Smith, 220 F. 3d 306, 325 (4th Cir. 2000).3

III. Conclusion

       The court will dismiss the Motion without prejudice for lack of jurisdiction. A separate

Order follows.



June 1, 2009                                                          /s/
Date                                                        William D. Quarles, Jr.
                                                            United States District Judge




       2
         The court is mindful that Harrod filed the Motion pro se, and has construed it liberally.
The rules of criminal procedure, however, do not provide for a “Motion to Correct Pretrial
Sentence Report” as contemplated by Harrod.
       3
          Harrod’s reliance on United States v. Booker, 543 U.S. 220 (2005) is misplaced. The
rule of law announced in Booker is not retroactive to cases on collateral review. See United
States v. Morris, 429 F. 3d 65, 71-72 (4th Cir. 2005).

                                                2
